1                              UNITED STATES DISTRICT COURT
2                                     DISTRICT OF NEVADA
3                                                ***
4    CRAIG TITUS,                                        Case No. 3:18-cv-00146-MMD-CBC
5                                           Plaintiff,                    ORDER
6            v.
7    JAMES DZURENDA et al.,
8                                       Defendants.
9
10          This is an action on a civil rights complaint pursuant to 42 U.S.C. § 1983, removed

11   from state court. The Court entered a screening order on May 10, 2019. (ECF No. 7).

12   The screening order imposed a 90-day stay and the Court entered a subsequent order in

13   which the parties were assigned to mediation by a court-appointed mediator. (ECF Nos.

14   7, 9). The Office of the Attorney General has filed a status report indicating that settlement

15   has not been reached and informing the Court of its intent to proceed with this action.

16   (ECF No. 17).

17          IT IS THEREFORE ORDERED that:

18          1.     The Clerk of the Court shall electronically SERVE a copy of this order and

19   a copy of Plaintiff’s complaint (ECF No. 1-2) on the Office of the Attorney General of the

20   State of Nevada, by adding the Attorney General of the State of Nevada to the docket

21   sheet. This does not indicate acceptance of service.

22          2.     Service must be perfected within ninety (90) days from the date of this order

23   pursuant to Fed. R. Civ. P. 4(m)

24          3.     Subject to the findings of the screening order (ECF No. 7), within twenty-

25   one (21) days of the date of entry of this order, the Attorney General’s Office shall file a

26   notice advising the Court and Plaintiff of: (a) the names of the defendants for whom it

27   accepts service; (b) the names of the defendants for whom it does not accept service,

28   and (c) the names of the defendants for whom it is filing the last-known-address
1    information under seal. As to any of the named defendants for whom the Attorney
2    General’s Office cannot accept service, the Office shall file, under seal, but shall not serve
3    the inmate Plaintiff the last known address(es) of those defendant(s) for whom it has such
4    information. If the last known address of the defendant(s) is a post office box, the Attorney
5    General's Office shall attempt to obtain and provide the last known physical address(es).
6           4.     If service cannot be accepted for any of the named defendant(s), Plaintiff
7    shall file a motion identifying the unserved defendant(s), requesting issuance of a
8    summons, and specifying a full name and address for the defendant(s).                For the
9    defendant(s) as to which the Attorney General has not provided last-known-address
10   information, Plaintiff shall provide the full name and address for the defendant(s).
11          5.     If the Attorney General accepts service of process for any named
12   defendant(s), such defendant(s) shall file and serve an answer or other response to the
13   complaint (ECF No. 1-2) within sixty (60) days from the date of this order.
14          6.     Henceforth, Plaintiff shall serve upon defendant(s) or, if an appearance has
15   been entered by counsel, upon their attorney(s), a copy of every pleading, motion or other
16   document submitted for consideration by the Court. Plaintiff shall include with the original
17   document submitted for filing a certificate stating the date that a true and correct copy of
18   the document was mailed or electronically filed to the defendants or counsel for the
19   defendants. If counsel has entered a notice of appearance, Plaintiff shall direct service
20   to the individual attorney named in the notice of appearance, at the physical or electronic
21   address stated therein. The Court may disregard any document received by a district
22   judge or magistrate judge which has not been filed with the Clerk of the Court, and any
23   document received by a district judge, magistrate judge, or the Clerk of the Court which
24   fails to include a certificate showing proper service.
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1    7.   This case is no longer stayed.
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3    DATED: September 19, 2019.
4
5                                    UNITED STATES MAGISTRATE JUDGE
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